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 5    Attorneys for Defendant Sergio Buenrostro
      And S&S Marketing Consulting LLC
 6

 7                              UNITED STATES DISTRICT COURT

 8                                     DISTRICT OF NEVADA

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      INJURYLOANS.COM, LLC, a Nevada entity;             CASE NO. 2:18-cv-01926-GMN-VCF
10    ADAM STOKES, an individual,

11                                Plaintiffs,
                                                         STIPULATION AND ORDER TO
12    vs.                                                DISMISS CITIBANK N.A.’s THIRD
                                                         PARTY CLAIMS AND CROSSCLAIMS
13    SERGIO BUENROSTRO, an individual;
      CITIGROUP, INC. (dba “Citibank”), an entity,
14
                                  Defendants.
15

16            Counterclaimant and Third-Party Claimant CITIBANK, N.A. and Cross Defendant
17    SERGIO BUENROSTRO and Third Party Defendant S&S MARKETING CONSULTING,
18    LLC, by and through their respective counsel of record, hereby stipulate and agree that
19    CITIBANK N.A.’s third party and crossclaims in the above-entitled action shall be dismissed
20    without prejudice in accordance with FED. R. CIV. P 41(a)(2) as to SERGIO BUENROSTRO
21    and S&S MARKETING CONSULTING, LLC. Each party shall bear its own attorney fees and
22    costs of suit.
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     Case 2:18-cv-01926-GMN-VCF Document 199 Filed 03/10/22 Page 2 of 2


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 2           Respectfully submitted, stipulated, and dated this 10th day of March, 2022.

 3    AKERMAN LLP                                 HOGAN HULET PLLC

 4    /s/ Lilith V. Xara_________                /s/ Kenneth E. Hogan

 5    LILITH V. XARA, ESQ.                        KENNETH E. HOGANN, ESQ.
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 6    Las Vegas, NV 89134                         Las Vegas, NV 89129
      Attorneys for Citibank, N.A.                Attorneys for Sergio Buenrostro and S&S
 7                                                Marketing Consulting LLC

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         IT IS SO ORDERED.
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11       Dated this ____
                    10 day of March, 2022.

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13       ___________________________
14       Gloria M. Navarro, District Judge
         UNITED STATES DISTRICT COURT
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